
In re: Leonard Holmes applying for writs of certiorari, mandamus and prohibition.
The petition of the relator in the above entitled and numbered case having been duly considered,
It is ordered that a writ of certiorari issue herein, directing the Honorable Har*733well L. Allen Judge of the Eighth Judicial District, Court for the Parish of Winn to transmit to the Supreme Court of Louisiana, on or before the 10th day of June, 1969, the record in duplicate, or a certified copy of the record in duplicate, of the proceedings complained of by the relator herein, to the end that the validity of said proceedings may be ascertained.
It is further ordered that the aforesaid Judge of said Court and the respondent through his attorneys shall show cause, in this court, on the date aforesaid, at 11 o’clock A.M., why the relief prayed for in the petition of the relator should not be granted.
Writs granted, but limited to a consideration of assignment of error No. 3.
FOURNET, C. J., and BARHAM, J., believe the writ should be unlimited.
